Case 2:01-cr-20163-.]DB Document 102 Filed 06/03/05 Page 1 of 3 Page|D 114

IN THE UNITED sTATEs DISTRICT CoURT F -
FoR THE WESTERN DISTRICT 0F TENNESSEE "£D f

 

 

 

WESTERN DIVISION
05 \.lUl€ "3 Al‘l 9¢ 26
CLEPK. U. 3 [)lSi. Ll`?
UNITED STATES OF AMERICA ) W-D- cl TN 'WE|:'nHlS
)
Pl£lll'l[lff, )
l
VS ) CASE NO. 01-20163-02-B
)
LISA sTEWART )
)
Defendant. )
)
ORDER TO SURRENDER

 

The defendant, Lisa Stewart, having been sentenced in the above case to the custody of
the Bureau of Pri sons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI Pekin,
(P.O. Box 7000) 2600 S. Second Street, Pekin, IL 61555, by 2:00 p.m. on FRIDAY, .IUNE 24, 2005.
IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign one
copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will report
as ordered to the facility named above.

ENTERED this the£_&d ay of June, 2005.

§§,a4

UNIEL BREEN
UED STATES DISTRICT .]UDGE

This document entered on the docket Sheet in co?l;£ance
-:-J.th Huie 55 and/or 32(b) FRCrP on l

 

Case 2:01-cr-20163-.]DB Document 102 Filed 06/03/05 Page 2 of 3 Page|D 115

ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

   

UNITED `SETATSDISTRICT COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:01-CR-20163 Was distributed by faX, rnail, or direct printing on
June 3, 2005 to the parties listedl

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE 1. GRIFFEY
142 North Third St.

3rd Floor

1\/1emphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

